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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                   )
             In re:                                                )   Chapter 7
                                                                   )
             ARROW HOLDINGS, LLC,1                                 )   Case No. 19-12730 (___)
                                                                   )
                         Debtor.                                   )
                                                                   )
                                                                   )
                                                                   )
             In re:                                                )   Chapter 7
                                                                   )
             EMS MANAGEMENT, LLC,                                  )   Case No. 19-12732 (___)
                                                                   )
                         Debtor.                                   )
                                                                   )
                                                                   )
             In re:                                                )   Chapter 7
                                                                   )
             EMS PLANE, INC.,                                      )   Case No. 19-12733 (___)
                                                                   )
                         Debtor.                                   )
                                                                   )
                                                                   )
                                                                   )
             In re:                                                )   Chapter 7
                                                                   )
             MODERN MATERIAL SERVICES, LLC,                        )   Case No. 19-12731 (___)
                                                                   )
                         Debtor.                                   )
                                                                   )

                      THE CHAPTER 7 CASES SCHEDULES AND SOFAS GLOBAL NOTES

                   These Global Notes regarding the above-captioned debtors and debtors in
     possession (collectively, the “Debtors”) Schedules of Assets and Liabilities (the “Schedules”) and
     Statements of Financial Affairs (the “SOFAs”) comprise an integral part of the Schedules and
     SOFAs and should be referred to and considered in connection with any review of them



     1
       The Debtors in the above captioned chapter 7 Cases, along with the last four digits of each Debtor’s federal tax
     identification number, are as follows: Arrow Holdings, LLC (4631); EMS Management, LLC (2709); Modern Material
     Services, LLC (8472); and EMS Plane, Inc. (N/A). The Debtors’ address is 2605 Nicholson Road, Suite 5200, Sewickley, PA
     15143.
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     1.      The Debtors prepared these unaudited Schedules of Assets and Liabilities (the “Schedules”) and
             Statements of Financial Affairs (the “SOFAs”) pursuant to section 521 of title 11 of the United
             States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
             Procedure. Except where otherwise noted the information provided herein is presented as of the
             beginning of business on December 19, 2019.

     2.      While the Debtors have made every reasonable effort to ensure that the Schedules and SOFAs are
             accurate and complete, based upon information that was available to them at the time of
             preparation, inadvertent errors or omissions may exist and the subsequent receipt of information
             and/or further review and analysis of the Debtors’ books and records may result in changes to
             financial data and other information contained in the Schedules and SOFAs. Moreover, because
             the Schedules and SOFAs contain unaudited information, which is subject to further review and
             potential adjustment, there can be no assurance that the Schedules and SOFAs are complete or
             accurate.

     3.      In reviewing and signing the Schedules and SOFAs, Dennis DeBassio, the duly authorized and
             designated representative of the Debtors (the “Designated Representative”), has necessarily relied
             upon the prior efforts, statements and representations of other employees, personnel and
             professionals of the Debtors. The Designated Representative has not (and could not have)
             personally verified the accuracy of each such statement and representation that collectively provide
             the information presented in the Schedules and SOFAs, including but not limited to, statements and
             representations concerning amounts owed to creditors and their addresses.

     4.      The Debtors reserve their rights to amend the Schedules and SOFAs as may be necessary or
             appropriate in the Debtors’ sole and absolute discretion, including, but not limited to, the right to
             assert offsets or defenses to (which rights are expressly preserved), or to dispute, any claim
             reflected on the Schedules as to amount, liability or classification, or to otherwise subsequently
             designate any claim as “disputed,” “contingent” or “unliquidated.” These Global Notes will apply
             to all such amendments. Furthermore, nothing contained in the Schedules or SOFAs shall
             constitute a waiver of the Debtors’ rights with respect to the chapter 7 cases and specifically with
             respect to any issues involving substantive consolidation, equitable subordination and/or causes of
             action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant non-
             bankruptcy laws to recover assets or avoid transfers, or an admission relating to the same.

     5.      Any failure to designate a claim listed on the Debtors’ Schedules as “disputed,” “contingent” or
             “unliquidated” does not constitute an admission by the Debtors that such amount is not “disputed,”
             “contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed may be exclusive
             of contingent and additional unliquidated amounts. Further, the claims of individual creditors are
             listed as the amounts entered on the Debtors’ books and records and may not reflect credits or
             allowances due from such creditors to the Debtors or setoffs applied by such creditors against
             amounts due by such creditors to the Debtors with respect to other transactions between them. The
             Debtors reserve all of their rights with respect to any such credits and allowances.

     6.      Some of the Debtors’ scheduled assets and liabilities are unknown and/or unliquidated. In such
             cases, no amounts are listed or the amounts are listed as “undetermined,” “unknown,” “none
             calculated” or to similar effect. Accordingly, for this and other reasons the Schedules may not fully
             reflect the aggregate amount of the Debtors’ assets and liabilities.
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     7.      At times, the preparation of the Schedules and the SOFAs required the Debtors to make
             assumptions that may affect the reported amounts of assets and liabilities, the disclosures of
             contingent assets and liabilities, and/or other items. Actual results could differ from those estimates.
             Pursuant to Fed. R. Bankr. P. 1009, the Debtors may amend their Schedules and SOFAs as they
             deem necessary and appropriate to reflect material changes. In addition, the Debtors, for the
             benefit of their estates, reserve the right to dispute or to assert offsets or defenses to any claim listed
             on the Schedules or SOFAs.

     8.      Given the differences between the information requested in the Schedules and the financial
             information utilized under generally accepted accounting principles in the United States (“GAAP”),
             the aggregate asset values and claim amounts set forth in the Schedules may not necessarily reflect
             the amounts that would be set forth in a balance sheet prepared in accordance with GAAP.

     9.      The Debtors completed multiple sales of their businesses and assets prior to the chapter 7 filing.
             Certain of these asset purchase agreements contained provisions whereby amounts were paid by the
             purchaser to Citizens Bank. Such transactions are not reported on the Schedules and SOFAs.

     10. With respect to Schedule A/B, questions 6-7, the retainer amounts paid by the Debtors to their
         bankruptcy counsel, Young Conway Stargatt & Taylor, LLP, on an earned upon receipt basis do
         not constitute an interest of the Debtors in property and are thus not listed in response to Schedule
         B, questions 6-7. These payments are listed in response to SOFA question 11.

     11. With respect to Schedule A/B, question 72, the Debtors are not currently owed any tax refunds.
         The Debtors are uncertain whether they retain any net operating losses for preceding tax years.

     12. With respect to Schedule E/F, part 2, all creditors and amounts listed are derived from the Debtors’
         accounts payable as of December 19, 2019. The Debtors are unable to state with certainty the dates
         that such debts were incurred, and accordingly, the Debtors have not listed the dates that such debts
         were incurred.

     13. With respect to Schedule E/F, part 2, the addresses for certain creditors were not available in the
         Debtors’ books and records. Such addresses have been omitted.

     14. For purposes of Schedule H, the Debtors have not listed their past insurers or current insurers as co-
         debtors because the Debtors are unaware of any actual present liability on the part of these parties.
         The Debtors reserve their rights to assert that any of the various foregoing parties (or any other
         party not listed on Schedule H whom the Debtors later discover to be liable in whole or part for any
         obligation of the Debtors) is a co-debtor with the Debtors, and neither these Global Notes nor the
         Schedules and SOFAs shall be deemed a waiver of any rights of the Debtors to assert that any
         entity not listed in response to Schedule H is a co-debtor with respect to one or more of the
         Debtors’ obligations.

     15. With respect to SOFA question 14, the Debtors are uncertain as to certain of the dates of
         occupancy, and such dates have been omitted.

     16. With respect to SOFA questions 26(b) through 26(d), the Debtors have excluded rank and file
         accountants and bookkeepers in response to this question, instead listing those officers who
         supervised them, as well as the Debtors’ external accounting and audit firms.
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     17. The Debtors and their past or present officers, employees, attorneys, professionals and agents
         (including, but not limited to, the Designated Representative), do not guarantee or warrant the
         accuracy, completeness, or currentness of the data that is provided herein and shall not be liable for
         any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
         whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
         communicating or delivering the information contained herein. The Debtors and their past or
         present officers, employees, attorneys, professionals and agents (including, but not limited to, the
         Designated Representative) expressly do not undertake any obligation to update, modify, revise or
         re-categorize the information provided herein or to notify any third party should the information be
         updated, modified, revised or re-categorized. In no event shall the Debtors or their past or present
         officers, employees, attorneys, professionals and/or agents (including, but not limited to, the
         Designated Representative) be liable to any third party for any direct, indirect, incidental,
         consequential or special damages (including, but not limited to, damages arising from the
         disallowance of any potential claim against the Debtors or damages to business reputation, lost
         business or lost profits), whether foreseeable or not and however caused arising from or related to
         any information provided herein or omitted herein.




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 Fill in this information to identify the case:

 Debtor name            Modern Material Services, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)                   19-12731
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           990,813.27

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           990,813.27


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,456,854.13


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        5,621,741.98


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         10,078,596.11




 Official Form 206Sum                                                Summary of Assets and Liabilities for Non-Individuals                                                                               page 1
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 Fill in this information to identify the case:

 Debtor name         Modern Material Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Citizens Bank                                           Checking                        3315                                  $213,187.84




           3.2.     Citizens Bank                                           Payroll                         2199                                     $2,494.68




           3.3.     Citizens Bank                                           Savings                         7933                                             $0.00




           3.4.     Citi Bank                                               Escrow                          5958                                  $100,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                              $315,682.52
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                     Case 19-12731-CSS                       Doc 2      Filed 12/20/19            Page 7 of 44

 Debtor             Modern Material Services, LLC                                                  Case number (If known)
                    Name


           No. Go to Part 3.
           Yes Fill in the information below.

 7.          Deposits, including security deposits and utility deposits
             Description, including name of holder of deposit


             7.1.     Security Deposit - held by J.G.D. Partnership and South Avis Realty                                           $177,873.00



 8.          Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
             Description, including name of holder of prepayment


             8.1.     Prepaid Expense - First Insurance Funding                                                                      $49,910.00




             8.2.     Prepaid Expense - AFCO                                                                                        $185,698.00




             8.3.     Prepaid Expense - Henderson Brothers                                                                             $3,648.00




             8.4.     Prepaid FSA                                                                                                      $2,500.00




             8.5.     Prepaid UHC                                                                                                    $80,000.00



 9.          Total of Part 2.
                                                                                                                                 $499,629.00
             Add lines 7 through 8. Copy the total to line 81.

 Part 3:            Accounts receivable
10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes Fill in the information below.

 11.         Accounts receivable

             11a. 90 days old or less:                               35,368.80   -                         35,368.80 = ....                  $0.00
                                              face amount                            doubtful or uncollectible accounts




             11b. Over 90 days old:                          3,251,911.50        -                     3,251,911.50 =....                    $0.00
                                              face amount                            doubtful or uncollectible accounts



 12.         Total of Part 3.
                                                                                                                                        $0.00
             Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:            Investments
13. Does the debtor own any investments?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 2
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 Debtor          Modern Material Services, LLC                                               Case number (If known)
                 Name



           No. Go to Part 5.
           Yes Fill in the information below.


 Part 5:         Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes Fill in the information below.


 Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

           No. Go to Part 7.
           Yes Fill in the information below.


 Part 7:         Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

           No. Go to Part 8.
           Yes Fill in the information below.


 Part 8:         Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

           No. Go to Part 9.
           Yes Fill in the information below.


 Part 9:         Real property
54. Does the debtor own or lease any real property?

           No. Go to Part 10.
           Yes Fill in the information below.


 Part 10:        Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

           No. Go to Part 11.
           Yes Fill in the information below.


 Part 11:        All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

           No. Go to Part 12.
           Yes Fill in the information below.

                                                                                                                        Current value of
                                                                                                                        debtor's interest


 71.         Notes receivable
             Description (include name of obligor)

 72.         Tax refunds and unused net operating losses (NOLs)
             Description (for example, federal, state, local)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 3
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 Debtor         Modern Material Services, LLC                                                Case number (If known)
                Name

 73.       Interests in insurance policies or annuities
           Initial capital contributed to Raffles Insurance Captive
           Insurance Plan                                                                                                  $31,000.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

           Hi-Crush - AR dispute                                                                                          $144,501.75
           Nature of claim
           Amount requested                                          $144,501.75



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.
                                                                                                                        $175,501.75
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
                 No
                 Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 4
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 Debtor          Modern Material Services, LLC                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $315,682.52

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $499,629.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                  $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                 $175,501.75

 91. Total. Add lines 80 through 90 for each column                                                           $990,813.27            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $990,813.27




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 5
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 Fill in this information to identify the case:

 Debtor name          Modern Material Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1    Citizens Bank                                Describe debtor's property that is subject to a lien                   $4,456,854.13                       $0.00
        Creditor's Name                              All Assets

        524 William Penn Place
        Pittsburgh, PA 15219
        Creditor's mailing address                   Describe the lien
                                                     First priority perfected lien
                                                     Is the creditor an insider or related party?
                                                           No
        Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                             No
                                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
             No                                            Contingent
             Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative           Disputed
        priority.




 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $4,456,854.13

 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Modern Material Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

              No. Go to Part 2.

              Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $316.08
           5 O'Clock Coffee Co                                                    Contingent
                                                                                  Unliquidated
           Date(s) debt was incurred                                              Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $357.15
           Accounting Principals                                                  Contingent
                                                                                  Unliquidated
           Date(s) debt was incurred                                              Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $585.00
           Advanced Micro Instruments Inc.                                        Contingent
           225 Paularino Ave                                                      Unliquidated
           Costa Mesa, CA 92626                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,750.00
           Advanced Technology Innovation                                         Contingent
                                                                                  Unliquidated
           Date(s) debt was incurred                                              Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 30
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 Debtor       Modern Material Services, LLC                                                           Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22.00
          Advent Health Centra Care
                                                                                  Contingent
          26 Westhall Lane
                                                                                  Unliquidated
          Box 3
          Maitland, FL 32751                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,599.84
          Airgas USA LLC                                                          Contingent
          PO Box 734672                                                           Unliquidated
          Dallas, TX 75373                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,669.68
          Ajilon                                                                  Contingent
          Dept CH 1431                                                            Unliquidated
          Palatine, IL                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $810.93
          Alfa Laval Inc.                                                         Contingent
          PO Box 281                                                              Unliquidated
          Pittsburgh, PA 15251                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $975.05
          Allied Electrical & Control System                                      Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $203.00
          Alpha Analytical, Inc.                                                  Contingent
          145 Flanders Road                                                       Unliquidated
          Westborough, MA                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,835.20
          Alsup Auto Parts                                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $81,367.19
          American Infrastructure MLP Man                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,884.87
          Amspec LLC
                                                                                  Contingent
          1249 South RIver Road
                                                                                  Unliquidated
          Suite 24
          Cranbury, NJ                                                            Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,951.00
          AON Risk Services                                                       Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $160.00
          Aqua Clear Water                                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $525.00
          Arrakis Energy Marketing LLC
                                                                                  Contingent
          52 Sugar Creek Center Boulevard
                                                                                  Unliquidated
          Suite 275
          Sugar Land, TX 77478                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,419.50
          AT&T                                                                    Contingent
          PO Box 519                                                              Unliquidated
          Carol Stream, IL                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,969.84
          Baron Filtration Company Inc.                                           Contingent
          PO Box 329                                                              Unliquidated
          Claysville, PA 15323                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,600.00
          Basic Systems, Inc.
                                                                                  Contingent
          Dept 781529
                                                                                  Unliquidated
          PO Box 78
          Detroit, MI 48278                                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,417.41
          Bastrop Scale Co. Inc.                                                  Contingent
          PO Drawer 21                                                            Unliquidated
          Bastrop, TX                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $508.96
          Battles Communication                                                   Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $604.96
          BDI                                                                     Contingent
          PO Box 6128                                                             Unliquidated
          Cleveland, OH 44194                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $222.22
          Bearden Industrial                                                      Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,655.16
          Bert Adams Disposal Inc.                                                Contingent
          Box 549                                                                 Unliquidated
          Chenango Bridge, NY 13745                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,313.84
          Big's Trucking Inc.                                                     Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $287.84
          Binghamton Agway                                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $321.20
          Blake & Pendleton Inc.
                                                                                  Contingent
          Dept 671
                                                                                  Unliquidated
          PO Box 851
          Orlando, FL 32885                                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $129.33
          Bossier City Utilities                                                  Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,188.73
          Brandon Center Hotel                                                    Contingent
          111 Horace Ave.                                                         Unliquidated
          Tampa, FL 33619                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $471.21
          Brechbuhler Scales, Inc.                                                Contingent
          1424 Scale Street SW                                                    Unliquidated
          Canton, OH                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $138.00
          Business Health Plus, Inc.                                              Contingent
          4755 Hwy 31 E                                                           Unliquidated
          Clarksville, IN 47129                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $360.00
          C&C Medical Group Inc.                                                  Contingent
          1384 Battlefield Pkwy                                                   Unliquidated
          Fort Oglethorpe, GA                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,388.00
          C&W Meter Service Inc.
                                                                                  Contingent
          6 Pacific Drive
                                                                                  Unliquidated
          Suite 2
          Quakertown, PA 18951                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $333.92
          Canon Solutions                                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,287.10
          CapCorp                                                                 Contingent
          PO Box 54747                                                            Unliquidated
          Dallas, TX 75354                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,984.27
          CDW Direct                                                              Contingent
          PO Box 75723                                                            Unliquidated
          Chicago, IL                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $195.93
          Certified Laboratories                                                  Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $210.80
          Chattanooga Gas                                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,651.34
          Chrisman Oil Company                                                    Contingent
          524 North State Rt 25                                                   Unliquidated
          Dexter, MO 63841                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $621.50
          City of Elmendorf Water System                                          Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10.70
          City of Richland                                                        Contingent
          PO Box 1869                                                             Unliquidated
          Richland, MS 39218                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $104.41
          Clarion Inn                                                             Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,699.41
          Clean Harbors Env. Services                                             Contingent
          PO Box 3442                                                             Unliquidated
          Boston, MA                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $567.50
          Cohen & Grisby PC                                                       Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,666.65
          Comairco Equipment Inc.                                                 Contingent
          325 Union Road                                                          Unliquidated
          Buffalo, NY 14227                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $175.00
          Combi                                                                   Contingent
          PO Box 636467                                                           Unliquidated
          Cincinnati, OH 45263                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $455.69
          Comcast Cable                                                           Contingent
          PO Box 35                                                               Unliquidated
          Southeastern, PA 19398                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,387.05
          Consolidated Communications                                             Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,256.88
          Construction Trailer Specialists                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,629.47
          Corporate Lodging Consultants                                           Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $552.08
          Cortez Liquid Waste Services Inc.                                       Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,707.82
          CPS Energy                                                              Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $443.50
          Creenan & Baczkowski                                                    Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,380.05
          Crown Energy Services Inc.                                              Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,925.00
          CSX Transportation Inc.                                                 Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $62.25
          Culligan of Clarksburg                                                  Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $351.40
          Culligan of Endicott                                                    Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $478.80
          Culligan of Parkersburg                                                 Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57.02
          Culligan of Pittsburgh                                                  Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $122.66
          Culligan Water Products                                                 Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $118.71
          Dalton Trailer                                                          Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $950.65
          Dalton Utilities                                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,012.29
          DXP Enterprises Inc.                                                    Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,702.28
          Ean Services LLC                                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,072.35
          EcoLab Pest Elimination Divison                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,340.26
          Electric Power Board                                                    Contingent
          PO Box 182254                                                           Unliquidated
          Chattanooga, TN 37422                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,242.57
          Equipment & Controls Inc.                                               Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,903.89
          ERB Equipment Company                                                   Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $198.11
          ESI Supply                                                              Contingent
          PO Box 18759                                                            Unliquidated
          Richland, MS 39218                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $391.20
          Ewald Kubota                                                            Contingent
          26 Business Hwy 181 N                                                   Unliquidated
          Floresville, TX 78114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,325.00
          Examinetics                                                             Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,122.32
          Expense Reports                                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,703.97
          Fabick Bros Equipment Co                                                Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32.89
          Fabick Cat                                                              Contingent
          PO Box 2594                                                             Unliquidated
          Madison, WI 53725                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $923.39
          Fastenal Company                                                        Contingent
          PO Box 1286                                                             Unliquidated
          Winona, MN 55987                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,001.48
          FedEx
                                                                                  Contingent
          Dept CH
                                                                                  Unliquidated
          PO Box 136
          Palatine, IL                                                            Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14.32
          Five Star Food Service                                                  Contingent
          PO Box 733261                                                           Unliquidated
          Dallas, TX 75373                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,033.61
          Flare Industries
                                                                                  Contingent
          1631 Bratton Lane
                                                                                  Unliquidated
          Building 3, Suite 35
          Austin, TX 78728                                                        Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45.09
          Foxie's Coffee Service                                                  Contingent
          PO Box 8663                                                             Unliquidated
          Chamblee, GA                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,077.98
          Franklin Equipment LLC                                                  Contingent
          PO Box 2214                                                             Unliquidated
          Decatur, AL                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,378.82
          G.T. Michelli Co., Inc.                                                 Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105.37
          Genuine Parts Company Inc.                                              Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,350.40
          GIS Engineering LLC                                                     Contingent
          PO Box 95549                                                            Unliquidated
          Grapevine, TX                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6.75
          Gosemo LLC                                                              Contingent
          PO Box 52                                                               Unliquidated
          Sikeston, MO 63801                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $130.02
          GP&S Enterpries                                                         Contingent
          PO Box 59                                                               Unliquidated
          Parkerburg, VA                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $889.83
          Grainger                                                                Contingent
          Dept 878484815                                                          Unliquidated
          Palatine, IL                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,415.00
          Green Side Up Landscaping, Inc.                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,370.45
          Hahn Oil Inc.                                                           Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $484.23
          Hampton Inn - Parkersburg                                               Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          Healthcare One Urgent Care                                              Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,666.50
          Henderson Brothers Inc.                                                 Contingent
          92 Ft Duquesne Blvd                                                     Unliquidated
          Pittsburgh, PA 15222                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $379.76
          Hire Right Solutions                                                    Contingent
          PO Box 847891                                                           Unliquidated
          Dallas, TX 75284                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $95.43
          Hose of South Texas Inc.                                                Contingent
          PO Box 9576                                                             Unliquidated
          Corpus Christi, TX 78469-9576                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $503.00
          HSE Consulting Inc.                                                     Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $159.30
          Hydrayne, LLC                                                           Contingent
          155 FAA Boulevard                                                       Unliquidated
          Seguin, TX 78155                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,649.00
          Hydro                                                                   Contingent
          PO Box 3573                                                             Unliquidated
          Carol Stream, IL                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,100.00
          Intellitrans                                                            Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Intercoastal Inland Services LLC                                        Contingent
          PO BOx 615                                                              Unliquidated
          Schertz, TX 78154                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,975.00
          IVS Hydro, Inc.                                                         Contingent
          PO Box 245                                                              Unliquidated
          Waverly, WV 26184                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $213,850.00
          J.G.D. Partnership                                                      Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Litigation
                                                                             Is the claim subject to offset?       No          Yes


 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,973.88
          Jat Oil Inc.                                                            Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,663.85
          Jefcoat Fence Co Inc.                                                   Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,331.19
          Kanawha Scales & Systems, Inc.                                          Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,039.84
          Kenco Material Handling Solution                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,854.93
          Kimble Recycling & Disposal Inc.                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,683.42
          Komatsu Financial Limited Partner                                       Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $707.02
          Kopac Enterprises LLC                                                   Contingent
          PO Box 2                                                                Unliquidated
          Freedome, PA                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.16
          Kubota Credit Corp USA                                                  Contingent
          PO Box 559                                                              Unliquidated
          Carol Stream, IL                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,312.50
          Liquid Meter Services                                                   Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.40
          LittleJohn Inc.                                                         Contingent
          PO Box 5177                                                             Unliquidated
          Spartanburg, SC                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $777.00
          Littler Medelson P.C.                                                   Contingent
          PO Box 27137                                                            Unliquidated
          Dallas, TX                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,263.77
          Lyle Machinery                                                          Contingent
          PO Box 2387                                                             Unliquidated
          Jackson, MS 39225                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $241.47
          Maverick Glass                                                          Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,303.16
          McBride Mack Sales                                                      Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $144.22
          Medcor, Inc.                                                            Contingent
          PO BOx 7557                                                             Unliquidated
          Cleveland, OH 44114                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25.00
          MedExpress Urgent Care, PC Penn                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40.00
          Medscreens Inc.                                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $183.60
          Mike's Auto Care LLC                                                    Contingent
          239 Slater Road                                                         Unliquidated
          Greene, NY 13778                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $304.17
          Miller Communications                                                   Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71.81
          Mimeo.com Inc.                                                          Contingent
          PO Box 65418                                                            Unliquidated
          Dallas, TX 75265                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,814.91
          Mirabito Energy                                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,002.18
          Mobile Saftey and Consultation                                          Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $209.28
          Mollenberg-Betz Inc.                                                    Contingent
          3 Scott Street                                                          Unliquidated
          Buffalo, NY 00000-1424                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,258.61
          Napa Auto Parts - Alamo                                                 Contingent
          PO Box 84833                                                            Unliquidated
          Dallas, TX 75284                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,628,094.18
          Norfolk Southern
                                                                                  Contingent
          Mail Code 5629
                                                                                  Unliquidated
          PO Box 7129
          Charlotte, NC 28272                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $546.09
          O'Reilly Auto Parts                                                     Contingent
          PO Box 9464                                                             Unliquidated
          Springlield, MO                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $61.50
          OCC Health Center- SW RI Remit                                          Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $778.50
          OCC Health Ctr of SW-GA                                                 Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.00
          Occupational Medicine Center                                            Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,959.00
          Odyssey Management Services                                             Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,782.50
          Odyssey Software                                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,386.52
          ORR Safety Corporation                                                  Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $320.00
          Pete Tanner's Solid Waste                                               Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,836.99
          Petrolab LLC                                                            Contingent
          PO Box 951834                                                           Unliquidated
          Dallas, TX 75395                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $62,568.27
          Pioneer Pipe Inc.                                                       Contingent
          221 Hanna Road                                                          Unliquidated
          Marietta, OH                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,606.67
          Pioneer Rubber and Gasket                                               Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $110.76
          Pitts' Fire Extinguisher Inc.                                           Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $346.92
          Polar Servie Centers                                                    Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $273.55
          Port-A Jon Inc.                                                         Contingent
          PO Box 618                                                              Unliquidated
          Shreveport, LA 71136                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,624.96
          Powerplan                                                               Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $84.64
          PPL Electric Utilities
                                                                                  Contingent
          2 North 9th Street
                                                                                  Unliquidated
          CPC-GENN1
          Allentown, PA 18101                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $351.70
          Pure Water Partners                                                     Contingent
          Dept Ch 19648                                                           Unliquidated
          Palatine, IL                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,261.32
          Quench                                                                  Contingent
          PO Box 85                                                               Unliquidated
          Philadelphia, PA 19178                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $395.58
          Quill Corporation                                                       Contingent
          PO Box 376                                                              Unliquidated
          Philadelphia, PA 19116                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,350.00
          R.A. Schaeffer Co., Inc.                                                Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,440.91
          Rail Barge Truck Services Inc.                                          Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,966,130.73
          Rail Logix Alamo Junction LLC                                           Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,345.12
          Republic Services #975                                                  Contingent
          PO Box 9199                                                             Unliquidated
          Louisville, KY                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $360.00
          Rescar Companies                                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          Resource Management Associate                                           Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27.60
          Ritz Safety                                                             Contingent
          PO Box 713129                                                           Unliquidated
          Cincinnati, OH 45271                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $548.96
          Riverside Chemical Company                                              Contingent
          PO Box 197                                                              Unliquidated
          N Towanda, NY                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          RJW Construction Inc.                                                   Contingent
          1384 Arbuckle Creek Rd.                                                 Unliquidated
          Leon, WV 25123                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $320.80
          RL Miller LLC
                                                                                  Contingent
          PO Box 8
                                                                                  Unliquidated
          Dept. 318
          Buffalo, NY 14267                                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $750.72
          Ron's Porta Johns Inc.                                                  Contingent
          346 Indian Run Road                                                     Unliquidated
          Marietta, OH                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,945.79
          Safety Kleen Systems Inc.                                               Contingent
          PO Box 38266                                                            Unliquidated
          Pittsburgh, PA 15258                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $619.92
          Scale Systems                                                           Contingent
          PO Box 116733                                                           Unliquidated
          Atlanta, GA                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,307.00
          Sen Technologies                                                        Contingent
          PO Box 19526                                                            Unliquidated
          Boise, ID 83719                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,151.30
          Shelly Materials                                                        Contingent
          PO Box 781246                                                           Unliquidated
          Detroit, MI 48078                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $222.82
          Shred-It                                                                Contingent
          28883 Network Place                                                     Unliquidated
          Chicago, IL                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $693.73
          Slucher Farm & Home                                                     Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105.31
          Smokey Mountain Water                                                   Contingent
          PO Box 449                                                              Unliquidated
          Athens, TN 37371                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,653.08
          South Avis Realty                                                       Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,345.00
          Specialized Transport Service Inc.                                      Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $390.00
          Spectrum Business                                                       Contingent
          PO Box 7872                                                             Unliquidated
          Charlotte, NC 28272                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




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 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,420.89
          Staples Advantage
                                                                                  Contingent
          Dept ROC
                                                                                  Unliquidated
          PO Box 415256
          Boston, MA                                                              Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,441.23
          Stocker Concrete                                                        Contingent
          PO Box 176                                                              Unliquidated
          Gnadenhutten, OH 44629                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $162.00
          Suburban Septic & Excavating Ser                                        Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,574.00
          Suddenlink                                                              Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,387.32
          Sun Coast Resources Inc.                                                Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,382.01
          Sunbelt Rentals, Inc.                                                   Contingent
          181 Union Road                                                          Unliquidated
          Buffalo, NY 14224                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $331.18
          SVS Selective Vending Services                                          Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $817.65
          Tell Communications Inc.                                                Contingent
          6477 Street East                                                        Unliquidated
          Palmetto, FL 34221                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,224.32
          Terminal Supply                                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $62.30
          Terry County Tractor, Inc.                                              Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Texas Dept of Agriculture                                               Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,034.09
          The Standard                                                            Contingent
          59 O Street                                                             Unliquidated
          Lincoln, NE                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $210.68
          The Stanley Proctor                                                     Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,967.22
          Total Safety US Inc.                                                    Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




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 Debtor       Modern Material Services, LLC                                                           Case number (if known)
              Name

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,837.11
          Trinity Consultants                                                     Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $151.46
          Trinity Parts & Components, LLC                                         Contingent
          PO Box 732666                                                           Unliquidated
          Dallas, TX 75373                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          TruGreen                                                                Contingent
          PO Box 9133                                                             Unliquidated
          Louisville, KY                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $799.78
          Tyden Brooks                                                            Contingent
          1636 Collection Ctr Dr.                                                 Unliquidated
          Chicago, IL                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $423.88
          Uline                                                                   Contingent
          PO Box 88741                                                            Unliquidated
          Chicago, IL                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,619.76
          Unifirst Corporation                                                    Contingent
          PO BOx 65481                                                            Unliquidated
          Dallas, TX 75265                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,926.93
          United Rentals                                                          Contingent
          PO Box 1711                                                             Unliquidated
          Atlanta, GA                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 27 of 30
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 Debtor       Modern Material Services, LLC                                                           Case number (if known)
              Name

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $245.00
          Velocity Care                                                           Contingent
          PO Box 15673                                                            Unliquidated
          Loves Park, IL 61132                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $526.77
          Volos Auto Supply Inc.                                                  Contingent
          383 State Street                                                        Unliquidated
          Binghamton, NY                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,898.27
          VSP Technologies                                                        Contingent
          PO Box 7938                                                             Unliquidated
          Baltimore, MD 21279                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $735.87
          W.B. Mason                                                              Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $355.03
          Waste Management - MS
                                                                                  Contingent
          c/o Jackson MS Hauling
                                                                                  Unliquidated
          PO Box 9154
          Louisveill, KY                                                          Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes


 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $131.96
          Waste Services                                                          Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $195.04
          Waste Services                                                          Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 28 of 30
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 Debtor       Modern Material Services, LLC                                                           Case number (if known)
              Name

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $460.38
          Watermen Inc.                                                           Contingent
          PO Box 1111                                                             Unliquidated
          Buford, GA                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,336.63
          Waukesha-Pearce                                                         Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $72,475.05
          Wells Fargo Equipment Finance                                           Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $429.55
          Whitco Supply                                                           Contingent
          2 N. Morgan Avenue                                                      Unliquidated
          Broussard, LA                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,745.63
          Williams Scotsman Inc.                                                  Contingent
          PO Box 91975                                                            Unliquidated
          Chicago, IL                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number
                                                                             Is the claim subject to offset?       No          Yes


 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,039.23
          Wintrow Construction Corp                                               Contingent
                                                                                  Unliquidated
          Date(s) debt was incurred                                               Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Vendor - Open invoice in AP
                                                                             Is the claim subject to offset?       No          Yes


 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $220.00
          Workfit Medical
                                                                                  Contingent
          116 Chili Avenue
                                                                                  Unliquidated
          Suite 2
          Rochester, NY 14624                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Vendor - Open invoice in AP
          Last 4 digits of account number                                    Is the claim subject to offset?       No          Yes




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 Debtor       Modern Material Services, LLC                                                           Case number (if known)
              Name

 3.201     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $75.48
           Wright's Water
                                                                                  Contingent
           PO Box 67
                                                                                  Unliquidated
           1 West Street
           Newcomerstown, OH 43832                                                Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Vendor - Open invoice in AP
           Last 4 digits of account number                                   Is the claim subject to offset?       No          Yes


 3.202     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,039.86
           Yard Truck Specialists Inc.
                                                                                  Contingent
           PO Box 421
                                                                                  Unliquidated
           151 Ford Road
           Bensalem, PA                                                           Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Vendor - Open invoice in AP
           Last 4 digits of account number                                   Is the claim subject to offset?       No          Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                    5,621,741.98

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.       $                         5,621,741.98




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 30 of 30
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 Fill in this information to identify the case:

 Debtor name         Modern Material Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
           No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
           Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Real Estate Lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 December 2020
                                                                                    J.G.D. Partnership
             List the contract number of any                                        2609 Nicholson Road
                   government contract                                              Sewickley, PA 15143


 2.2.        State what the contract or                   Insurance Contract
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 September 2021
                                                                                    Raffles Insurance, Inc.
             List the contract number of any                                        PO Box 10027
                   government contract                                              Grand Cayman


 2.3.        State what the contract or                   Real Estate Lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 May 2020
                                                                                    South Avis Realty Inc.
             List the contract number of any                                        70 Maryland Avenue
                   government contract                                              Jersey Shore, PA 17740




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Modern Material Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

      No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Arrow Holdings,                   2605 Nicholson Road                               Citizens Bank                        D
             LLC                               Suite 5200                                                                             E/F
                                               Sewickley, PA 15143                                                                    G




    2.2      EMS                               2605 Nicholson Road                               Citizens Bank                        D
             Management,                       Suite 5200                                                                             E/F
             LLC                               Sewickley, PA 15143                                                                    G




    2.3      EMS Plane, Inc.                   2605 Nicholson Road                               Citizens Bank                        D
                                               Suite 5200                                                                             E/F
                                               Sewickley, PA 15143                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                           Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Modern Material Services, LLC

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          12/20/19                                X /s/ Dennis DeBassio
                                                                       Signature of individual signing on behalf of debtor

                                                                       Dennis DeBassio
                                                                       Printed name

                                                                       Treasurer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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